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   FIDELITY NATIONAL TITLE & ESCROW
   OF HAWAII, INC. and ROMMEL GUZMAN

                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  ATOOI ALOHA, LLC, an Nevada               )   CIVIL NO. 16-00347 JMS RLP
  Limited Liability Company, et al.         )
                                            )   CERTIFICATE OF SERVICE
                      Plaintiffs,           )
                                            )
           vs.                              )
                                            )
  ABNER GAURINO, et al.                     )
                                            )
                      Defendants.           )
                                            )

                             CERTIFICATE OF SERVICE

           The undersigned hereby certifies that service of a copy of DEFENDANTS

  FIDELITY NATIONAL TITLE & ESCROW OF HAWAII, INC. AND

  2046439 v1
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  ROMMEL GUZMAN’S JOINDER IN 1) PLAINTIFFS’ SECOND REQUEST

  FOR PRODUCTION OF DOCUMENTS TO DEFENDANT CRISTETA C.

  OWAN, DATED 8/30/17; AND 2) PLAINTIFFS’ SECOND REQUESTS FOR

  PRODUCTION OF DOCUMENTS TO DEFENDANTS ABNER GAURINO,

  AURORA GAURINO, AND ABIGAIL GAURINO, DATED 9/8/17, dated

  September 9, 2017, will be duly served on September 12, 2017 on the following

  parties by United States mail, postage prepaid:

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           DATED: Honolulu, Hawaii; September 12, 2017.

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